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                                                                                                                          Call. – Deep Capture



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      ELECTION FRAUD 2020          THE DEEP CAPTURE CAMPAIGN




    How DJT Lost the White House, Chapter 2: Was
    there Foreign Interference in this Election? You
    Make the Call.
            BY PATRICK BYRNE · JANUARY 31, 2021 ·  803 SHARES ·  11 MINUTE READ




      The occasion was a 1950’s drunken Hollywood party. The leading men of
      the day were holding an impromptu contest of a certain form. Jackie
      Gleason famously shouted to Milton Berle: “Hey Miltie, do us all a favor and
      only pull out enough to win!”


      In this chapter I will follow that principle. On the dictum that “a picture is
      worth 1,000 words,” I will start with somethingto end debate on whether
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      Dominion machines are made in China:
https://www.deepcapture.com/2021/01/how-djt-lost-the-white-house-chapter-2-was-there-foreign-interference-in-this-election-you-make-the-call/       1/40
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                                                                                                                          Call. – Deep Capture




            Image
      Let us now turn to an analysis of the packet traffic on Election Day 2020
      provided me by the best cyber-forensics specialist (aka “dolphin-speaker”)
      I have ever met. As packets travel through the Internet they leave a trail,
      and dolphin-speakers using the right tools can, in a sense, “shine a light”
      and reveal those packet trails in the cyber-fog. The cyber-specialists to
      whom I refer, who has access to such tools (and even more arcane ones),
      has documented vote-flipping in the Problematic 6 states amounting to
      299,567 votes, just enough in each state to flip the election. 43% of that
      activity came from China.




      For people who wish to study the data behind this claim, click here: US
      Election Fraud 2020_General For those who shudder at the thought of
      opening an Excel spreadsheet, this 1 minute video shows hundreds of
      foreign entities (many in China) who, on November 3, 2020, were
      conducting Man-in-the-Middle attacks on election system across these
      states of Pennsylvania, Michigan, Wisconsin, Arizona, Nevada, and Georgia
      in order to flip votes.




                                             Sorry
                                        This video does not exist.




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      Now let us turn to a statement by a retired senior military officer that lays things out
      rather clearly (there is a fair bit of “dolphin-speak” below, but if you read it slowly, most
      will make more sense to you than you may expect).


      ———————————————————————————————————–


      Declaration of XXXXXXXX


      1. My name is XXXXXXXXXXXXXXXXXXXX, and I am a resident of XXXXXXXXXX. I hold an
      MBA from XXXXXX University, and a Bachelor of Science from XXXXXX University. I am
      retired from the US Army where I worked as an Air Cavalry Officer, a Psychological
      Operations Officer, and Information Operations Officer. I specifically conducted Special
      Technical Operations, analyzed and applied All-Source Intelligence to operational
      requirements. With a specialized team of military members, I helped author the Joint
      Urgency of Needs Statement for the CAUI EXORD (Countering Adversary Use of the
      Internet) and stood up the first two special category cyber-enabled operations under a
      unique Secretary of Defense authority. I am currently the manager of a Cybersecurity
      Company based in Texas. Our emphasis is on digital forensics and incident response
      (DFIR) cybersecurity, analysis of publicly available information (PAI), penetration testing of
      networks, and problem solving through operations integration. We use state-of-the-art
      tools and employ a wide variety of cyber and cyber-forensic analysts. My colleague and I
      are currently contracted to a cybersecurity and forensics firm that focuses on election
      systems.


      2. We have examined the various Companies, Networks, Structures, Machines and related
      global infrastructures directly tied to the US Election.


      3. This is a preliminary report on the various aspects of FOREIGN INTERFERENCE as
      defined by Executive Order 13848 issued on September 12, 2018.




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             a. Section     8 (f) defines         the term           “foreign interference,”                       with                  
             respect to an election to include any covert fraudulent
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             respect to an election, to include any covert, fraudulent,
             deceptive, or unlawful actions or attempted actions of a foreign

             government, or of any person acting as an agent of or on behalf
             of a foreign government, undertaken with the purpose or effect
             of influencing, undermining confidence in, or altering the result
             or reported result of, the election, or undermining public
             confidence in election processes or institutions.

             i. There is clear and definitive evidence that foreign interference,
             as defined in the above Executive Order, occurred prior to, and
             during, the General Election on November 3, 2020.

             b. In addition, Section 1 (b)(ii) states “if any foreign interference
             involved activities targeting the infrastructure of, or pertaining
             to, a political organization, campaign, or candidate, the extent to
             which such activities materially affected the security or integrity
             of that infrastructure, including by unauthorized access to,
             disclosure or threatened disclosure of, or alteration or
             falsification of, information or data.”

             i. There is also clear and definitive evidence that foreign
             interference and unauthorized access to information and data,
             as defined in the Executive Order above, occurred prior to, and
             during, the General Election on November 3, 2020.




      Dominion Voting Systems and Scytl/Clarity Elections:


      4. Dominion Voting Systems is owned and controlled by foreign entities. We lose control
      of the data when it goes to a foreign country. For example:


      • The electronic information went to Germany, Barcelona, Serbia, and Canada

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      • Dominion         Servers in Belgrade Serbia. P 82.117.198.54 (ASN Range: 82.117.192.0/19)
https://www.deepcapture.com/2021/01/how-djt-lost-the-white-house-chapter-2-was-there-foreign-interference-in-this-election-you-make-the-call/    4/40
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      • Dominion Servers ftp.dominionvoting.com with IP 69.172.237.100 (ASN Range:
      69.172.236.0/22) is located in Toronto, Canada


      • www.scytl.com with IP 52.57.209.147 (ASN Range: 52.57.0.0/16) is (was) located in
      Frankfurt Germany


      • support.scytl.com with IP 213.27.248.118 (ASN Range: 213.27.128.0/17) is located in
      Barcelona, Spain


      • scytl-com.mail.protection.outlook.com with IP 104.47.10.36 (ASN Range: 104.40.0.0/13)
      is located in Ireland


      • On election night the DE-CIX Frankfurt there was a 30% spike over the previous high
      rate of traffic. One stated probable cause was increased data flow to servers supporting
      the US Election.


      Dominion Voting Systems and related companies are owned or heavily controlled and
      influenced by foreign agents, countries, and interests. The forensic report we prepared
      found that “the Dominion Voting System is intentionally and purposefully designed with
      inherent errors to create systemic fraud and influence election results”.


      5. The system intentionally generates an enormously high number of ballot errors…The
      intentional errors lead to bulk adjudication of ballots with no oversight, no transparency,
      and no audit trail. This is the exact type of issue that leads to voter and/or election fraud.


      6. The report found the election management system to be wrought with unacceptable
      vulnerabilities— including access to the internet— a key indicator to find evidence of
      fraud, and numerous malicious actions.


      7. The numerous similarities will find that Dominion Voting Systems, Smartmatic,
      Electronic Systems & Software, and Hart Inter Civic, Clarity Election Night Reporting,
      Edison Research, Sequoia, Scytl, and similar or related entities, agents or assigns, have
      the same flaws and were subject to foreign interference in the 2020 election in the United
      States.
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      8. These systems bear the same crucial code “features” and defects that allowed the
      same outside and foreign interference in our election, in which there is the probability

      votes were in fact altered and manipulated contrary to the will of the voters.




              a) Each of the companies use EML (Election Markup Language)
              and are susceptible to cross site scripting attacks (XSS) as
              described on page 7 in the Joint Cybersecurity Advisory.

              i) Cross-site scripting (also known as XSS) is a web security
              vulnerability that allows an attacker to compromise the
              interactions that users have with a vulnerable application. It
              allows an attacker to circumvent the same origin policy, which is
              designed to segregate different websites from each other.
              Cross-site scripting vulnerabilities normally allow an attacker to
              masquerade as a victim user, to carry out any actions that the
              user is able to perform, and to access any of the user’s data. If
              the victim user has privileged access within the application,
              then the attacker might be able to gain full control over all of the
              application’s functionality and data.

              b) Most, if not all, related sites were created using WordPress.
              WordPress currently has 2,675 CVE (Common Vulnerabilities
              and Exposures) listed on cve.mitre.org.

              i) I performed a OpenVAS Vulnerability assessment for both
              Dominion and Scytl. There were multiple issues related to, out-
              of-date plugins and themes, which leaves sites vulnerable to
              attack.

              c) With the various mergers, acquisitions, license agreements
          and partnerships the entire Election ecosystem in the United
      803 States is one and the same of any other Country where these
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              systems are based, created, designed, used and so on. Namely
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             Venezuela and their investment into Smartmatic.


             d) Dominion’s purchase of Sequoia Voting Systems from
             Smartmatic has resulted in the same “Source Code” being used
             today.

             e) During the Forensic audit we observed WinEDs and GEMS in
             the Dominion Voting System EMS (Election Management
             System). Both of those modules have been included in adverse
             findings from the EAC but are still in use today.

             f) With the overlap between Dominion and Smartmatic,
             including the shared address in Barbados, the FCC Report ID:
             2AGVK-VIU811 issued by the CCIS Lab in Shenzhen, China is
             very concerning. The Voter Identification Unit report was issued
             on July 23, 2020 and would give China insight on how to exploit
             the voting machines used in the US Election.




      9. Dominion Voting Systems is based in Toronto, Canada, and assigns its intellectual
      property including patents on its firmware and software and trademarks to Hong Kong
      and Shanghai Bank Corporation (HSBC), a bank with its foundation in China and its
      current headquarters in London, United Kingdom.


      10. Multiple expert witnesses and cyber experts identified acts of foreign interference in
      the election prior to November 3, 2020 and continued in the following weeks. In fact,
      there is evidence of a massive cyber-attack by foreign interests on our crucial national
      infrastructure surrounding our election—not the least of which was the hacking of the
      voter registration system by Iran. (E.O. 13800 of May 11, 2017)


      11. This is compounded by the magnitude of the Solar Winds exploit that has exposed the
      private, public and government related companies and agencies. This includes the
      companies and agencies directly involved with securing our elections.

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      12. The FBI and CISA issued a joint Cybersecurity Advisory on October 30, 2020 (Report
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      ID: AA20 304A)
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      ID: AA20-304A).



      a. This joint cybersecurity advisory was coauthored by the Cybersecurity and
      Infrastructure Security Agency (CISA) and the Federal Bureau of Investigation (FBI). CISA
      and the FBI are aware of an Iranian advanced persistent threat (APT) actor targeting U.S.
      state websites—to include election websites. CISA and the FBI assess this actor is
      responsible for the mass dissemination of voter intimidation emails to U.S. citizens and
      the dissemination of U.S. election-related disinformation in mid-October 2020.1
      (Reference FBI FLASH message ME-000138-TT, disseminated October 29, 2020). Further
      evaluation by CISA and the FBI has identified the targeting of U.S. state election
      websites was an intentional effort to influence and interfere with the 2020 U.S.
      presidential election.


      13. Dominion and Smartmatic share a physical address in Barbados despite their
      insistence that there is no relationship between the companies. They also have a mutual
      non- compete agreement detailing shared resources and code.


      14. Hootan Yaghoobzadeh is the CEO and Chairman of Staple Street Capital, which is the
      entity that owns Dominion. Yaghoobzadeh was a close confidant to Sadaam Hussein and
      worked for the Saudi Bin Laden group. He previously worked at the Carlyle Group and
      Cerberus Capital Management.


      Staple Street Partners


      15. Staple Street Partners is a Private Equity firm that owns Dominion Voting Systems.


      16. 9/25/19 – Dominion Voting Systems based in Toronto entered into a Security
      Agreement with HSBC Bank, assigning all intellectual property and assets including
      Trademarks, Patents and Software (see below).


      17. 10/8/20 – $400,000,000 from UBS Securities a Chinese managed subsidiary of UBS
      Global AG (see below).




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      18. Dominion shares an address with Smartmatic in Barbados (see below)



      19. Dominion data is seen going to their headquarters in Serbia and Toronto.


      20. The following link analysis was gathered through open source methodologies and is
      easily verifiable.


      21. As Dominion and Smartmatic makes claims that they are not connected in any way,
      not only are they connected but their business registration was in the same building on a
      foreign island to obfuscate their business dealings.


      https://offshoreleaks.icij.org/nodes/101732449




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      25. Dominion can be seen using open-source methodology that the SSL certificates from
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                    
      *.dominionvoting.com       
                           were registered      24th of July
                                           on the                         certificate were
                                                             2019. This SSL              
      Share
      used multiple times from locations ranging from Canada Serbia and the United States
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                                                                                      in this Election?      26 the
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                                                                                                                    62 – Deep Capture
      used multiple times from locations ranging from Canada, Serbia, and the United States.
      These images verify that Dominion systems were connected to foreign systems across


      the globe. Also seen is that the SSL certificate is used for the email server that was the
      same for the secure HTTP connections.


      443.https.tls.certificate.parsed.fingerprint_sha256:
      8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c




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      443 https tls certificate parsed fingerprint sha256:
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      443.https.tls.certificate.parsed.fingerprint_sha256:
      8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9




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      Email ip address: 206.223.168.94


      Serbian ip address 82.117.198.54
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      Dominion site 204.132.219.214
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      Cloudflare link 104.18.91.9


      Canadian ip address 206.223.190.85


      Denver ip address 204.132.121.11


      Page: 1/1 Results: 7 Time: 155ms


      206.223.168.94 (webmail.dominionvoting.com)


      BEANFIELD (21949) Toronto, Ontario, Canada


      443/https


      *.dominionvoting.com, dominionvoting.com


      443.https.tls.certificate.parsed.fingerprint_sha256:
      8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
      82.117.198.54


      SERBIA-BROADBAND-AS Serbia BroadBand-Srpske Kablovske mreze d.o.o. (31042) Kac,
      Vojvodina, Serbia


      443/https


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      204.132.219.214


      CENTURYLINK-US-LEGACY-QWEST (209) United States


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      CLOUDFLARENET (13335) United States 443/https, 80/http, 8080/http Direct IP access
      not allowed | Cloudflare *.dominionvoting.com, dominionvoting.com
      443.https.tls.certificate.parsed.fingerprint_sha256:
      8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c 104.18.90.9


      CLOUDFLARENET (13335) United States


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      8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
      206.223.190.85 (206-223-190-85.beanfield.net)


      BEANFIELD (21949) Toronto, Ontario, Canada


      22/ssh, 443/https *.dominionvoting.com, dominionvoting.com
      443.https.tls.certificate.parsed.fingerprint_sha256:
      8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
      204.132.121.11 (204-132-121-11.dia.static.qwest.net)


      CENTURYLINK-US-LEGACY-QWEST (209) Denver, Colorado, United States 21/ftp, 22/ssh,
      443/https, 80/http DVS Fileshare *.dominionvoting.com, dominionvoting.com
      443.https.tls.certificate.parsed.fingerprint_sha256:
      8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c


      Kavtech


      26. A Pakistan based Business Intelligence firm with ties to the ISI.


      27. The lead data scientist named Bilal Khan Nawabzada tweets directly to ISI.


      803
      28. The Co-Founder   Waqas Butt
                                 is cc’d on emails
                                                     containing
                                                              personally 
                                                                          identifiable voter
                                                                                         
      Share
      information from the Nevada Secretary of State.
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      a. This is a similar and deliberate act of unauthorized access of information and data as
      the hacking of the voter registration system by Iran. (E.O. 13800 of May 11, 2017)


      29. Kavtech is a Pakistan based Business Intelligence firm with ties to the Pakistani
      intelligence ISI. The lead data scientist named Bilal Khan Nawabzada directly references
      Pakistani ISI in his social media.


      30. Kavtech using Natural Language Processing and Sentiment Analysis to sway Voter
      opinion and intent to ultimately influence the election.




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      Supply Chain Concerns


      31. One in five components used in voting machines are from China-based companies


      32. On January 6, 2017 DHS Secretary Jeh Johnson on the Designation of Election
      Infrastructure as a Critical Infrastructure Subsector.


      a. This means that election infrastructure becomes a priority within the National
      Infrastructure Protection Plan. It also enables this Department to prioritize our
      cybersecurity assistance to state and local election officials, but only for those who
      request it. Further, the designation makes clear both domestically and internationally that
      election infrastructure enjoys all the benefits and protections of critical infrastructure that
      the U.S. government has to offer. Finally, a designation makes it easier for the federal
      government to have full and frank discussions with key stakeholders regarding sensitive
      vulnerability information.


      33. With that in mind, it is incredible that the Election equipment used in the November 3,
      803
      2020 election was manufactured in Russia,   China and undisclosed
                                                                           Asianand European
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      Countries (see below).
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      Reference:


      https://us-cert.cisa.gov/sites/default/files/2020-10/AA20304A-
      Iranian_Advanced_Persistent_Threat_Actor_Identified_Obtaining_Voter_Registration_Data.pdf


      https://www.whitehouse.gov/presidential-actions/executive-order-imposing-certain-
      sanctions-event-foreigninterference-united-states-election/


      https://www.jstor.org/stable/resrep26524seq=13#metadata_info_tab_contents


      https://www.dhs.gov/news/2017/01/06/statement-secretary-johnson-designation-
      election-infrastructure-critical




      Now I could go much further. My dolphin speakers have had time to go much further than
      you have reviewed so far in this chapter (what you have seen thus far was generally
      prepared by or before Thanksgiving, November 26, 2020).


      But I’m hopeful, Dear Reader, that I have above shown you enough to win.


      Next Chapter is Chapter 3: Crashing the White House (December 18-22)
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    The Deep Rig Movie




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    “Why do you doubt the integrity of Election 2020?”)
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